             Case 2:04-cv-09049-DOC-RNB Document 2820-2 Filed 03/26/08 Page 1 of 2 Page ID
                                              #:45356



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                   8
                                           UNITED STATES DISTRICT COURT
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                                          CENTRAL DISTRICT OF CALIFORNIA
                  10
                                                  EASTERN DIVISION
                  11
                       CARTER BRYANT, an individual,         CASE NO. CV 04-9049 SGL (RNBx)
                  12           Plaintiff,                    Consolidated with
                  13                                         Case No. CV 04-09059
                            vs.                              Case No. CV 05-02727
                  14
                                                             [PROPOSED] ORDER ON
                  15 MATTEL, INC., a Delaware                STIPULATION REGARDING
                     corporation,                            DOCKET NUMBER 2504
                  16
                                  Defendant.                 Phase 1
                  17                                         Discovery Cut-off: January 28, 2008
                                                             Pre-trial Conference: May 5, 2008
                  18                                         Trial Date:           May 27, 2008
                       AND CONSOLIDATED ACTIONS
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07209/2447110.1
                                                  [PROPOSED ORDER] RE STIPULATION RE DOCKET NUMBER 2504
             Case 2:04-cv-09049-DOC-RNB Document 2820-2 Filed 03/26/08 Page 2 of 2 Page ID
                                              #:45357



                   1                                       ORDER
                   2        Based on the stipulation of the parties, and good cause appearing for the entry
                   3 thereof, IT IS HEREBY ORDERED:
                   4        (1) The Clerk is directed to return to Mattel Docket Number 2504-6 through
                   5 2504-26 in Case No. 04-9049, filed on March 7, 2008, in their entirety, and/or (2)
                   6 Docket No. 2504-6 through 2504-26 shall be filed under seal in their entirety.
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                       DATED:________________, 2008                  _____________________________
                   8                                                 Hon. Stephen G. Larson
                   9                                                 United States District Judge

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                                                     [PROPOSED ORDER] RE STIPULATION RE DOCKET NUMBER 2504
